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MINUTE ENTRY
MORGAN, J.
April 1, 2016


                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 MYESHIA S. AMBROSE-FRAZIER,                                       CIVIL ACTION
    Plaintiff

 VERSUS                                                            NO. 15-1324

 HERZING, INC., ET AL.,                                            SECTION: “E” (3)
     Defendants

       A pretrial conference was held on April 1, 2016, at 2:00 p.m. in the chambers of

Judge Susie Morgan.

       Present:       Jean-Paul Robert, counsel for Plaintiff, Myeshia S. Ambrose-
                      Frazier; George Fagan, Margaret Swetman, counsel for
                      Defendant, Herzing, Inc. and Herzing University, Ltd.

       Counsel for the parties discussed the status of the case.

       Plaintiff’s counsel represented that Plaintiff is not bringing any claims against

Defendant Jason Morgan individually.

       Accordingly;

       IT IS ORDERED that all claims against Defendant Jason Morgan are

DISMISSED WITHOUT PREJUDICE.

       IT IS FURTHER ORDERED that the parties file an amended joint proposed

pretrial order by April 4, 2016, at 12:00 p.m.

       IT IS FURTHER ORDERED that counsel for each party inform opposing

counsel by April 18, 2016, of which witnesses will be called to testify at trial.

       The Court discussed with counsel the upcoming jury trial in this matter.



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           The Court explained that it expects (1) a single joint jury instruction document

containing agreed-to instructions and the parties’ respective positions regarding disputed

instructions, if any; (2) a single joint verdict form containing agreed-to elements and the

parties’ respective positions regarding disputed elements, if any; and (3) two copies of the

set of bench books containing an index and all exhibits—first unobjected-to exhibits and

then objected-to exhibits, numbered sequentially. Counsel for the parties must also

provide the Court’s case manager, Cesyle Nelson, with two discs containing all exhibits.

           Voir dire and jury selection were discussed. The Court will conduct voir dire

questioning with opportunities for the parties to submit follow-up questions for the Court

to ask. The Court informed the parties that an eight-member jury will be selected and that

all eight members of the jury will deliberate. There will be no alternate jurors. Unless the

parties stipulate otherwise, the jury must return a unanimous verdict. In no event may

the parties stipulate that fewer than six jurors may return a verdict. The parties will each

be given three peremptory challenges during jury selection. Each party will be given 20

minutes for opening statements.

           The Court reminds the parties to reference the pretrial notice form in preparing for

trial. 1 The parties are encouraged to contact the Court for guidance if any instruction in

the pretrial notice is unclear. The parties are also encouraged to contact the Court’s case

manager, Cesyle Nelson, to schedule a meeting to familiarize themselves with the

courtroom audio-visual technology.




1   R. Doc. 25-1.

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    New Orleans, Louisiana, this 1st day of April, 2016.


                                 _____________________________
                                         SUSIE MORGAN
                                 UNITED STATES DISTRICT JUDGE




JS10 (1:23)




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